Case 2:05-md-01657-EEF-DEK Document 12430-2 Filed 09/26/07 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: VIOXX PRODUCTS LIABILITY
LITIGATION

MDL No. 1657
SECTION L
JUDGE ELDON E. FALLON

ok
oe
*
oe
ok
*
* MAGISTRATE JUDGE
* DANIEL E. KNOWLES, III
*

ok

*
wR OK KK OK Kk KK KOK ROK KR KOR HK ROK OK KOK Kk kk KK ok

THIS DOCUMENT RELATES TO: Smith, John v. Merck & Co., Inc. et al.
Civil Action No. 0-5 003

PLAINTIFF’S MOTION TO REMAND

COMES NOW Plaintiff John Smith, by and through his attorneys Goldenberg Heller
Antognoli Rowland Short & Gori, P.C., and for his Motion to Remand, states as follows:

1. Plaintiff filed suit in Edwardsville, Illinois against manufacturing defendant
Merck and a pharmacy (Eiseles Caseyville Pharmacy), alleging injuries from taking Vioxx. A
copy of the Plaintiff's Complaint is contained in the Court file and incorporated herein by
reference.

2. Defendant improperly removed this action from State Court to this Court alleging,
that Illinois Defendant Eiseles Caseyville Pharmacy was fraudulently joined for purposes of
defeating diversity.

3. This Court does not have subject matter jurisdiction over this claim. Plaintiff has
pled state causes of action against Eiseles Caseyville Pharmacy including: strict products

liability—sale of defective product, negligence failure to warn, and breach of warranty. Each,

1
Case 2:05-md-01657-EEF-DEK Document 12430-2 Filed 09/26/07 Page 2 of 3

standing alone, is sufficient to establish a viable cause of action against Eiseles Caseyville
Pharmacy under Illinois law. Therefore, Defendant’s attempt to remove this case to this Court is
without merit and remand is proper.

4, Plaintiff requests this Court remand this action to the Circuit Court in the county
of Madison, state of Illinois, and that Plaintiff be awarded whatever further relief this Court
deems just and proper.

5. In support of his Motion to Remand, Plaintiff files his Memorandum setting forth
and supporting the above stated claims.

WHEREFORE, Plaintiff, JOHN SMITH, prays that the above captioned action
be remanded to the Circuit Court of the county of St. Clair, state of Illinois, and for such further
relief as this Court deems just and proper.

Respectfully submitted,

GOLDENBERG HELLER ANTOGNOLI
ROWLAND SHORT & GORI, P.C.

By: /s/Aaron K. Dickey
Aaron K. Dickey #6281731
2227 South State Route 157
P.O. Box 959
Edwardsville, IL 62025

618-656-5150
ATTORNEYS FOR PLAINTIFFS

Case 2:05-md-01657-EEF-DEK Document 12430-2 Filed 09/26/07 Page 3 of 3

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the foregoing
instrument was served upon all parties by electronically uploading the same to Lexis
Nexis File & Serve, and that the foregoing was electronically uploaded with the Clerk of
the Court of the United States District Court for the Eastern District of Louisiana by
using the CM/ECF system which will send a Notice of Electronic Filing in accord with
the procedures established in MDL 1657, this 26" day of September, 2007.

/s/ Aaron K. Dickey

